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 1 Robert Tauler (SBN 241964)
   rtauler@taulersmith.com
 2 Tauler Smith, LLP
   626 Wilshire Boulevard, Suite 510
 3 Los Angeles, California 90017
   Tel: (310) 590-3927
 4
      Attorneys for Plaintiff
 5    ENTTech Media Group LLC
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 7
 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10
       ENTTECH MEDIA GROUP LLC               Case No. 2:20-cv-06298-JWH (Ex)
11
                   Plaintiff,                Assigned to Hon. John W. Holcomb
12                                           Courtroom 2
              v.
13                                           PLAINTIFF’S OBJECTION TO
       OKULARITY, INC., et al.               NOTICE TO THE COURT RE:
14                                           ASSIGNMENT OF SPLASH NEWS
                   Defendants.               AND PICTURE AGENCY LLC’S
15                                           COPYRIGHTS AND REQUEST
                                             FOR SANCTIONS[84]
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                         OBJECTION TO NOTICE RE: SPLASH COPYRIGHTS
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 1                    OBJECTION AND SUGGESTION TO STRIKE
 2         Plaintiff objects to Splash News and Picture Agency, LLC’s “Notice to the Court
 3 re Assignment of Splash News and Picture Agency’s Copyrights” (“Notice of
 4 Assignment”)(Dkt. 84) and requests that the Court take into considering this objection at
 5 the February 11, 2021 hearing on Defendants Motion to Dismiss and Motion for Rule 11
 6 Sanctions on multiple grounds that impact the pending motion and upcoming hearing.
 7 The Notice of Assignment (filed today) states that Splash News and Picture Agency,
 8 LLC (“Splash USA”) “inadvertently assigned the copyrights to its photographs at issue
 9 in this litigation to its parent company” “on or around January 19, 2021,” and counsel
10 for Splash was informed on February 3, 2021 that it did not own the copyrights at issue
11 in this case. The Notice demonstrates that Defendants included false representations of
12 facts in numerous filings at issue in the upcoming February 11, 2021 hearing on
13 Defendants’ Motion to Dismiss and Motion for Sanctions. Specifically, in all filings
14 related to the two motions, Defendants repeatedly represent that they own exclusive
15 rights to the copyrights at issue, when they now admit that this is not the case. These
16 misrepresentations are sanctionable under Rule 11, because it is now clear that

17 Defendants did not conduct a minimal amount of investigation into the ownership rights
18 that they attested to in their filings. Defendants’ “Notice” exposes their bad faith
19 conduct for a number of reasons.
20         First, an “inadvertent” assignment does not exist under the law. Copyright
21 ownership cannot be assigned “inadvertently.” Pursuant to 17 U.S.C. § 204 “A transfer
22 of copyright ownership . . . is not valid unless an instrument of conveyance, or a note or
23 memorandum of the transfer, is in writing and signed by the owner of the rights
24 conveyed . . .” Therefore, Defendant Splash USA must have executed a written

25 agreement to assign copyrights. Yet, Defendants fail to submit this agreement to the
26 Court or provide any details. It is unclear which copyrights were assigned, for what
27 value, and to whom. It is unclear how or why the copyrights were assigned back to
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 1 Splash USA. The assignment must have been a result of an express written agreement
 2 and could not have been “inadvertent.” Defendants should have attached the operative

 3 agreement to the Notice, but declined to do so in an intentional attempt to withhold the
 4 relevant facts surrounding the assignment.
 5         Second, according to Defendants, the purported assignment took place on or
 6 around January 19, 2021. 8 days later, on January 27, 2021, Defendants filed two briefs
 7 with the Court (Dkts. 80 and 81), where Defendants falsely represented to the Court
 8 that Splash USA owned the copyrights at issue in this case. In fact, Defendants’
 9 exclusive ownership of the copyrights is a central issue in this case and in motions
10 before the Court. By way of example, Defendants’ briefs include the following
11 misrepresentations:
12         •      Tauler has “[no] basis to contend that the Photo Agencies do not own the
13         rights to the works at issue.” (Dkt. 81: PageID#1558 at lines 4-6)
14         •      “Remarkably, Mr. Tauler has not explained his basis for these legally
15         frivolous allegations [that Defendants don’t own the copyrights at issue.]” (Dkt
16         81: PageID#1558 at lines 25-27)
17         •      “[N]o facts…cast doubt on the Photo Agencies’ copyright ownership”
18         (Dkt. 81: PageID#1558 at lines 15-18).1
19         Even if counsel for Defendants were unaware the above statements were false at
20 the time of filing, that would not be an excuse. Pursuant to Rule 11, Defendants are
21 required to make a reasonable inquiry into the basic facts they are representing to the
22 Court. It is clear that Defendants failed to make any such inquiry and sanctions are
23 warranted.
24

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26  Defendants repeated false statements disparaging counsel for Plaintiff were even made in the headings
      1

   of their brief “MR. TAULER HAS NO EVIDENTIARY SUPPORT FOR HIS ALLEGATION THAT
27 THE PHOTO AGENCIES DO NOT OWN THE COPYRIGHTS TO THE WORKS AT ISSUE" (Dkt
28 81: PageID#1554 at lines 5-7)                      4
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 1         Third, despite knowledge that Splash USA did not own the copyrights at issue in
 2 this case on February 3, 2021 (according to Defendants’ own timeline), Defendants did

 3 not inform the Court or opposing counsel of this fact until February 9, 2021, six days
 4 later. This is a crucial fact because Plaintiff’s sur-reply brief was due on February 5,
 5 2021 (Dkt. 82). . It is clear that Defendants purposefully withheld this key evidence
 6 until after Plaintiff drafted and submitted its sur-reply brief, so as to limit Plaintiff’s
 7 arguments in the brief and gain an advantage in this case.
 8         Defendants’ bad faith conduct merits sanctions under 28 U.S.C. § 1927, which
 9 provides for sanctions against any attorney “who so multiplies the proceedings in any
10 case unreasonably and vexatiously . . .” See New Alaska Dev. Corp. v. Guetschow, 869
11 F.2d 1298, 1306 (9th Cir. 1989) (“Tactics undertaken with the intent to increase
12 expenses, or delay, may also support a finding of bad faith.”).
13         Fourth, the Notice of Assignment makes it clear that Defendants misrepresented
14 the facts in their corporate disclosures to Plaintiffs. Defendants counsel has previously
15 attested in their corporate disclosure statement that Splash USA has “no parent.”
16 (Declaration of Robert Tauler [“Tauler Dec.”], Ex. A). According to the Notice of

17 Assignment, however, Splash USA does in fact have a “parent company.” Despite this
18 revelation, Defendants do not disclose who this parent company is, or how any company
19 could conceivably “inadvertently” assign copyrights being litigated. In fact, the
20 undersigned informed Defendants of his belief that the corporate disclosure statement
21 contained false information in November 2020, however, Defendants never filed a
22 corporate disclosure statement mentioning any parent company. (Tauler Dec., Ex. B).
23 Defendants omission is suspicious, if not glaring, particularly since other public filings
24 indicate that Splash USA is owned by Silverhub Media UK Ltd., a foreign corporation

25 currently under bankruptcy protection – another fact that would negatively impact
26 Defendants’ Counterclaims, and possibly their entire operation. The Court should Order
27 that this information be disclosed.
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 1         Fifth, as Defendants themselves argue in their Joint Reply Brief “[a] transfer of
 2 copyright ownership” is not valid unless in writing signed by owner of the rights

 3 conveyed. (Dkt. 81: PageID#1558 at lines 26-28) (citing 17 U.S.C. § 204(a)). The
 4 Court is entitled to know who the rights at issue were assigned to, even if temporarily,
 5 as it is likely to be dispositive of Defendants’ Counterclaims. Sybersound Records, Inc.
 6 v. UAV Corp., 517 F.3d 1137, 1143-44 (9th Cir. 2008)(“third party strangers and
 7 nonexclusive licensees cannot bring suit to enforce a copyright”). In addition to
 8 sanctions, the Court should order that Defendants produce all assignments in their
 9 possession of every copyright in dispute (demonstrating a chain of title) so that
10 Defendants may dispel all doubt about the veracity of their ownership and prevent
11 Defendants from continuing to misrepresent their exclusive ownership of the copyrights
12 at issue in this case.
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14                                                Respectfully submitted,
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16 DATED: February 9, 2021                        TAULER SMITH LLP
17
18                                         By:    /s/ Robert Tauler
                                                  Robert Tauler
19                                                Attorneys for Plaintiff
                                                  ENTTech Media Group LLC
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                            OBJECTION TO NOTICE RE: SPLASH COPYRIGHTS
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 1                         DECLARATION OF ROBERT TAULER
 2         I, Robert Tauler, Esq., declare:
 3         1.    I am counsel for Plaintiff ENTTech Media Group LLC (“ENTTech”), which
 4 is the named Plaintiff in this action. The facts set forth in this Declaration are true of my
 5 own knowledge, and if called upon to testify, I could and would testify as thereto.
 6         2.    Attached hereto as Exhibit A is a true and correct copy of the Corporate
 7 Disclosure Statement (Fed. R. Civ. P. 7.1 and Local Rule 7.1-1) filed by Backgrid USA,
 8 Inc.; Splash News and Picture Agency, LLC; and Xposure Photo Agency, Inc. in the case
 9 of Backgrid USA, inc., et al. v. ENTTech Media Group LLC, et al. (USDC Central
10 District of California, Case No. 2:20-cv-06803), dated July 29, 2020.
11         3.    Attached hereto as Exhibit B is a true and correct copy of an email sent
12 from me to Peter Perkowski, dated November 30, 2020.
13         I declare under penalty of perjury under the laws of the United States that the
14 foregoing is true and correct. This declaration is executed on this 9th day of February,
15 2021, at Los Angeles, California
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17                                                /s/ Robert Tauler
                                                  Robert Tauler, Esq.
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                         OBJECTION TO NOTICE RE: SPLASH COPYRIGHTS
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on February 9, 2021, copies of the foregoing document were
 3 served by the Court’s CM/ECF system to all counsel of record in this action.
 4
 5 Dated: February 9, 2021                 TAULER SMITH, LLP
 6
 7                                         By: /s/ Robert Tauler
 8
                                               Robert Tauler

 9                                         Counsel for Plaintiff
10                                         ENTTECH MEDIA GROUP LLC

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                         OBJECTION TO NOTICE RE: SPLASH COPYRIGHTS
